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                      MILHOUSE NEAL, LLP
                      CERTIFIED PUBLIC ACCOUNTANTS AND CONSULTANTS




                                                                            4aw.LDON PARKWAY
                                                                     MARYLAND HEIGHTS, MO 63043
                                                                      Ill 314.995.6900 D .314.99.5.6903
                                                                                   m www.mn-cpa.com



  August 19, 2015



  The Honorable Jean C. Hamilton
  U.S. District Court for the Eastern District of Missouri
  Thomas F. Eagleton U.S. Courthouse
  111 South 1oth Street
  St. Louis, MO 63102

         Case: 4:11-CV-00373-JCH
         Request for Fees and Expenses of Receiver


  Dear Judge Hamilton:

  We are the appointed receiver of the assets of Ronald W. Moore and RWM
  Properties 11, LLC in the above-named case.

  Enclosed is an itemized request for payment of our final fees and expenses for
  receivership services provided from July 24, 2015 thru August 19, 2015 prior to
  transferring the receiver's assets to the Chap. 7 bankruptcy trustee.


   Respectfully,

  MILHOUSE & NEAL, LLP


    ~Q;Jd__
   By: Mark 0. Neal, CPA
   Partner
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                          MILHOUSE NEAL, LLP
                          CERTIFIED PUBLIC ACCOUNTANTS AND CONSULTANTS



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                                                                                          ill www.mn-cpa.com




Ronald W. Moore Receivership
c/o Milhouse & Neal, LLP
40 Weldon Parkway
Maryland Heights, MO 63043

Date         08/19/2015
Client No.   1518




Request for funding for receivership services rendered and
costs expended in the BancorpSouth Bank v. RWM
Properties II, LLC and Ronald W. Moore matter pursuant
to order of the United States District Court of the Eastern
District of Missouri.


                                                   Total Invoice Amount:     $====62==4==.o==o
       Case: 4:11-cv-00373-JCH Doc. #: 171 Filed: 08/21/15 Page: 3 of 3 PageID #: 1542



Billing Worksheet
For the Period: 08/15/2015
Primary Partner: Neal, Mark (MON)

                                               Name         Date         Memo                                 Rate            Hours          Amount
CONS         501 General Consulting Services   Tasic,Elme   08/04/2015   Organize files for Erie Peterson            195.00           1.20       234.00
CONS         501 General Consulting Serviees   Tasie,Elme   08/05/2015   w/Eric Peterson and put files back          195.00           1.00       195.00
CONS         501 General Consulting Services                             Finalize receivership                       195.00           1.00       195.00
                                                                         Total                                                        3.20       624.00
